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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

ALEXANDER CHAVARRIA
PEREDES, A-206-225-112,

             Petitioner,
v.                                           CASE NO.: 4:20cv484-MW/MAF

WILLIAM BARR, et al.,

             Respondent.

______________________________/

        ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge’s Report

and Recommendation, ECF No. 5. Upon consideration, no objections having been

filed by the parties,

      IT IS ORDERED:

      The report and recommendation is accepted and adopted, as this Court’s

opinion. This Court acknowledges that Petitioner may no longer be in custody. See,

e.g., ECF No. 7 (mail returned as undeliverable and marked “released”). Because

that may not be the case, Petitioner’s petition for writ of habeas corpus, ECF No. 1,

shall be transferred to the United States District Court for the Western District of

Louisiana, Alexandria Division, for all further proceedings. The Clerk shall take all
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steps necessary to effect the transfer and close the file.

      SO ORDERED on November 6, 2020.
                                         s/Mark E. Walker               ____
                                         Chief United States District Judge




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